        Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 1 of 10



                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF NEW YORK

CHRISTOPHER LOWE, on behalf of
himself and all others similarly situated,
                                                    Case No. 3:19-CV-1400 (MAD/ML)
                              Plaintiff,
       v.

NBT BANK, N.A.,

               Defendant.


                                           JOINT 26(f) REPORT
       COMES NOW, Plaintiff Christopher Lowe, individually and on behalf of all others

similarly situated and Defendant NBT Bank, N.A. (“NBT” or “Defendant”) (collectively referred

to herein as the “Parties”) and, pursuant to Federal Rule of Civil Procedure 26(f), respectfully

submit the following Joint Report of the Parties’ and Proposed Scheduling Order.


 A. DISCOVERY PLAN

       1.         Initial Disclosures. The Parties agree that, pursuant to this Court’s Text Order

dated January 24, 2020, the parties shall exchange the information required by Rule 26(a)(1)(A) on

April 22, 2020.

             a. Discovery Needed. The parties jointly propose the following points with respect

                  to discovery: The parties disagree on the scope of discovery:

                      i.    The Plaintiff expects that discovery may be needed on the following

                            issues in this matter: the allegations in the Complaint; any issues related

                            to class certification; Defendant’s agreements with its customers;

                            Defendant’s disclosures to its customers; Defendant’s policies regarding

                            the assessment of Overdraft Fees and/or Insufficient Funds Fees;

                            Defendant’s communications to/from its customers regarding Overdraft
Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 2 of 10



               Fees and/or Insufficient Funds Fees; the amount, and break down, of

               fees Defendant has collected in Overdraft Fees, as well as Defendant’s

               systems, manuals, guidelines, and processes in collecting those fees; the

               amount, and break down, of fees Defendant has collected in Insufficient

               Funds Fees, as well as Defendant’s systems, manuals, guidelines, and

               processes in collecting those fees; documents regarding Defendant’s

               decision to charge an Overdraft Fee or Insufficient Funds Fee, including

               documents regarding setting the amount of that fee; and any documents

               or information Defendant contends permit it to process and charge

               Overdraft Fees and/or Insufficient Funds Fees in the manner it has done

               so.

         ii.   Defendant expects that discovery will be required for “Phase I” on the

               following issues: the allegations set forth in the Complaint and the

               defenses set forth in the Answer related to the Plaintiff only, including

               any contracts between Plaintiff and Defendant, the Defendant’s policies

               and procedures for assessing Overdraft Fees and/or Non-Sufficient Fund

               Fees, any disclosures made to Plaintiff and/or communications made

               between Defendant and Plaintiff regarding the same, any Overdraft Fees

               and/or Non-Sufficient Fund Fees charged against Plaintiff’s account(s)

               that fit within the definition of APPSN Transaction, as that term is

               defined in the Complaint, or reflect multiple Non-Sufficient Fund and/or

               Overdraft Fees for the same item, and any documents reflecting

               Defendant’s decision to charge the Plaintiff an Overdraft Fee and/or

               Non-Sufficient Fund Fee. Defendant expects that additional discovery
Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 3 of 10



                will be required on the items set forth above with respect to the class

                members if, and only if, a class is certified on any of the class definitions

                set forth in the Complaint, which is hereinafter referred to as “Phase II”

                discovery.

   b. The parties disagree as to whether discovery should be bifurcated:

           i.   The Plaintiff contends that fact discovery shall not be conducted in phases,

                but expert discovery should be phased as set forth below. In addition, the

                Plaintiff has proposed a comprehensive case management schedule, and

                anticipates serving discovery requests that will further set forth the scope

                of the documents and information sought in discovery.

          ii.   The Defendant has contested the Plaintiff’s standing as a class

                representative, and contends that discovery should be limited to the

                Plaintiff’s claims and that class discovery should be stayed until the

                Plaintiff has established standing to pursue this class action. Particularly,

                Defendant contends that Plaintiff’s Complaint will be dismissed on

                summary judgment, which motion will be made at the conclusion of

                discovery with respect to Plaintiff’s claims, as the evidence will prove, at

                a minimum, that the Plaintiff has not suffered any damage as a result of

                the complained of conduct. If Plaintiff’s claims are not dismissed on

                summary judgment, Defendant may request targeted discovery on certain

                issues bearing on class certification.      Defendant intends to seek a

                protective order to protect the disclosure of the identities of and contact

                information for putative class members prior to class certification, as such

                information is not necessary or relevant at the pre-certification stage. The
       Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 4 of 10



                           Defendant has proposed a comprehensive case management schedule, as

                           set forth below.

            c. The Defendant contends that paper discovery should be completed prior to the

                conduct of any depositions.

            d. The parties disagree on whether the restrictions contained in Fed. R. Civ. P 33(a)(1)

                should apply:

                    i.     The Plaintiff believes that, due to the nature of the case, the parties should

                           not be limited by the restrictions set forth in Fed. R. Civ. P 33 (a)(1) with

                           respect to the number of Interrogatories that a party may serve on any other

                           party.

                   ii.     Defendant asserts that the parties should be limited by the restrictions set

                           forth in Fed. R. Civ. P. 33(a)(1) with respect to the number of

                           Interrogatories that a party may serve on any other party. In the event a

                           class is certified, the Defendant asserts that the Plaintiff should still be

                           limited by the restrictions set forth in Fed. R. Civ. P 33(a)(1), except that

                           Plaintiff shall be permitted to exceed the limitations of Fed. R. Civ. P

                           33(a)(1) with respect to subparts identifying specific class members only.

            e. The parties reserve the right to request changes in the limitations of discovery if

                issues with these limitations arise during the course of discovery.

       2.      Protection of Information. The parties have discussed issues regarding the

protection of information by a privilege or the work-product doctrine, including whether the

parties agree to a procedure to assert these claims after production or have any other agreements

under Fed. R. Evid. 502.
       Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 5 of 10



            a. The Plaintiff asks that the Court include the following agreement in the

                scheduling order:

       In the event that a document protected by the attorney-client privilege, the attorney
       work product doctrine, or other applicable privilege or protection is unintentionally
       produced by any party to this proceeding, the producing party may request that the
       document be returned. In the event that such a request is made, all parties to the
       litigation and their counsel shall promptly return all copies of the document in their
       possession, custody, or control to the producing party and shall not retain or make
       any copies of the document or any documents derived from such document. The
       producing party shall promptly identify the returned document on a privilege log.
       The unintentional disclosure of a privileged or otherwise protected document shall
       not constitute a waiver of the privilege or protection with respect to that document
       or any other documents involving the same or similar subject matter.

            b. The Defendant requests that the Court include the following agreement in the
               scheduling order:

       In the event that a document protected by the attorney-client privilege, the attorney
       work product doctrine, or other applicable privilege or protection, or containing
       personally identifiable information, is unintentionally produced by any party to this
       proceeding, the producing party may request that the document be returned. In the
       event that such a request is made, all parties to the litigation and their counsel shall
       promptly return all copies of the document in their possession, custody, or control
       to the producing party and shall not retain or make any copies of the document or
       any documents derived from such document. To the extent that such document is
       being recalled based upon an asserted privilege, the producing party shall promptly
       identify the returned document on a privilege log. The unintentional disclosure of
       a privileged or otherwise protected document shall not constitute a waiver of the
       privilege or protection with respect to that document or any other documents
       involving the same or similar subject matter.

       3.     Case Management Schedule. The parties have been unable to agree on a case

management schedule.

            a. The Plaintiff proposes the following case management schedule, which is set forth

                in the form of a summary table.

                        Event                                            Due Date

  Initial Disclosures                                                 April 22, 2020
      Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 6 of 10



 Rule 16 Conference                                                  April 29, 2020

 Regular status conferences (to be held each
 quarter with magistrate judge)

 Amendment of pleadings and joinder of parties                        April 2, 2021

 Close of fact discovery                                            October 17, 2020

 Plaintiff’s Motion for Class Certification                         January 29, 2021

 Defendant’s Memorandum in Opposition to                   45 days after filing of the motion
 Class Certification

 Plaintiff’s Reply Memorandum, if any                 35 days after filing of Defendant’s response

 Plaintiff’s disclosure of experts and expert                      November 1, 2020
 reports

 Defendant’s disclosure of experts and expert                     November 17, 2020
 reports

 Deadline for filing case dispositive motions                       January 29, 2021

 The parties request a status conference about 21 days after a ruling on class certification is issued
 to determine how the case will proceed. Seven days in advance of the scheduled status
 conference, the parties will submit to the Court a proposed case management schedule through
       trial, including a schedule for expert reports on merits issues, expert discovery, and
                                        dispositive motions.

           b. The Defendant proposes the following case management schedule, which is set
              forth in the form of a summary table:

                       Event                                            Due Date

 Initial Disclosures                                                 April 22, 2020

 Rule 16 Conference                                            April 29, 2020 at 11:00am

 Regular status conferences (to be held each
 quarter with magistrate judge)

 Amendment of pleadings and joinder of parties                        April 2, 2020

 Close of Phase I Discovery                                       November 17, 2020

Plaintiff’s Disclosure of Expert Report for Any                   December 17, 2020
Expert Plaintiff Intends to Rely Upon in
Support of Class Certification
        Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 7 of 10



 Defendant’s Disclosure of Expert Report for             45 days after service of Plaintiff’s Expert
 Any Rebuttal Expert Defendant Intends to Rely                             Report
 Upon in Opposition to Class Certification
  Plaintiff’s Motion for Class Certification                          January 29, 2021

 Defendant’s Motion for Summary Judgment                              January 29, 2021
 Dismissing Plaintiff’s Complaint
  Defendant’s Opposition to Class Certification               45 days after filing of the motion

 Plaintiff’s Opposition to Defendant’s Motion                   45 days after filing of motion
 for Summary Judgment
  Plaintiff’s Reply to Motion for Class                 15 days after filing of Defendant’s response
  Certification, if any

  Defendant’s Reply to Motion for Summary                15 days after filing of Plaintiff’s Response
  Judgment, if any

  The parties request a status conference approximately 21 days after a ruling on class certification
  is issued to determine how the case will proceed. Seven days in advance of the scheduled status
  conference, the parties will submit to the Court a proposed case management schedule for Phase
  II discovery through trial, including a schedule for expert reports on merits issues, expert
  discovery, and dispositive motions.

 B. OTHER 26(F) REQUIREMENTS

        1.      The likelihood of settlement: Plaintiff is open to the possibility of class-wide

settlement, including through the use of a qualified mediator. Defendant states that it cannot assess

the likelihood of class settlement until a class is certified, assuming that one is certified, and believes

that any mediation prior to class certification will not be useful.

        2.      What changes should be made to the timing, form or requirement for disclosures

under Rule 26(a), including a statement of when initial disclosures were made or will be made:

None.

                    a. Plaintiff contends that the parties will exchange initial disclosures under Rule

                        26(a) within 14 days after the parties’ Rule 26(f) conference.

                    b. Defendant contends that Rule 26(a) disclosures will be exchanged on April

                        22, 2020, in accordance with this Court’s Text Order dated January 24, 2020.
        Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 8 of 10



       3.      The subjects on which discovery may be needed, when discovery should be

completed, and whether discovery should be conducted in phases or be limited to or

focused on particular issues:

                   a. Plaintiff contends that the parties need to take discovery with regard to the

                       merits of Plaintiff’s claims and the requirements of Fed. R. Civ. P. 23.

                   b. Defendant contends that discovery should proceed as outlined above (see

                       paragraph 2(a)(ii), supra).

       4.      Any issues about the disclosure of discovery or electronically stored information,

including the form or forms in which it should be produced:

                   a. The Plaintiff contends that the parties shall agree on a separate ESI protocol.

                   b. The Defendant contends that the parties’ written discovery may seek

                       information from electronic sources of information in the possession, custody,

                       or control of the other party. With respect to Phase I, dealing solely with the

                       claims of the named Plaintiff, Defendant asserts that the scope of electronic

                       discovery will be limited, and agreement on the terms of a separate ESI

                       protocol unnecessary.     In the event that the case proceeds to Phase II

                       discovery, the parties intend to address the scope and methodology of such

                       discovery as part of the ordinary discovery process and shall agree on a

                       separate ESI protocol. Further, the parties are cognizant of their obligation to

                       preserve such information during the pendency of the action.

       5.      Any issues about claims of privilege or of protection as trial-preparation

materials, including—if the parties agreed on a procedure to assert these claims after

production—whether to ask the court to include their agreement in an order: Attorney-client

communications are claimed as privileged by the respective parties. It is likely this case will involve
        Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 9 of 10



confidential or other protected documents. To that end, the parties will work in good faith on entering

into an appropriate stipulation, confidentiality agreement, or protective order and will seek the

Court’s approval.

       6.      What changes should be made in the limitations on discovery imposed under

Fed. R. Civ. P. 26(f) or by local rules, and what other limitations should be imposed:

                    a. Plaintiff: None at this time; however, the parties reserve the right to request

                       changes in the limitations on discovery if issues with these limitations arise

                       during the course of discovery.

                    b. Defendant: Refers the Court to paragraph 2(b)(ii) for the limitations it seeks

                       with respect to discovery, including bifurcation, targeted discovery and a

                       protective order. Defendant reserves its right to request changes in the

                       limitations on discovery if issues with these limitations arise during the course

                       of discovery.

       7.      Any other orders that the court should issue under Fed. R. Civ. P. 26(c):

                    a. Plaintiff: None at this time.

                    b. Defendant intends to seek a protective order precluding disclosure of the

                       identities of and contact information for putative class members.
  Case 3:19-cv-01400-MAD-ML Document 34 Filed 04/22/20 Page 10 of 10



Plaintiff Christopher Lowe                       Defendant NBT Bank, N.A.

BY:                                              BY:

James J. Bilsborrow (Bar Roll #519903)           Mitchell J. Katz
WEITZ & LUXENBERG, P.C.                          (Bar Roll No. 301057)
700 Broadway                                     Office and Post Office Address
New York, New York 10003                         Barclay Damon Tower
Telephone: (212) 558-5500                        125 East Jefferson Street
jbilsborrow@weitzlux.com                         Syracuse, New York 13202
                                                 Telephone: (315) 425-2700
Jeffrey D. Kaliel (pro hac vice)
Sophia G. Gold (pro hac vice)                    Attorneys for Defendant
KALIEL PLLC                                      NBT Bank, N.A.
1875 Connecticut Ave. NW 10th Floor
Washington, D.C. 20009
Telephone: (202) 350-4783
jkaliel@kalielpllc.com
sgold@kalielplllc.com

Lynn A. Toops (pro hac vice)
COHEN & MALAD, LLP
One Indiana Square, Suite 1400
Indianapolis, IN 46204
Telephone: (317) 636-2593
ltoops@cohenandmalad.com

J. Gerard Stranch, IV (pro hac vice)
Martin F. Schubert (pro hac vice to be filed)
BRANSTETTER, STRANCH
& JENNINGS, PLLC
223 Rosa L. Parks Avenue, Suite 200
Nashville, Tennessee 37203
Telephone: (615) 254-8801
gerards@bsjfirm.com
martys@bsjfirm.com

Christopher D. Jennings (pro hac vice)
THE JOHNSON FIRM
610 President Clinton Avenue, Suite 300
Little Rock, Arkansas 72201
Telephone: (501) 372-1300
chris@yourattorney.com

Counsel for Plaintiff and the Proposed Classes
